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                   9                      UNITED STATES DISTRICT COURT
              10                        CENTRAL DISTRICT OF CALIFORNIA
              11
              12       MICHELLE STERIOFF, individually           Case No. 2:22-cv-09230-GW-GJS
                       and on behalf of all others similarly
              13       situated,
                                                                 [PROPOSED] ORDER ON JOINT
              14                        Plaintiff,               STIPULATION TO STAY CASE
              15                                                 [Civil Local Rule 7-1]
                       v.
              16                                                 Assigned to: Honorable George H. Wu
                       LIVE NATION ENTERTAINMENT,
              17       INC., and TICKETMASTER, LLC,
              18                        Defendants.
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                                                                                      [PROPOSED] ORDER ON
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                           JOINT STIPULATION TO STAY CASE
                                                                               CASE NO. 2:22-cv-09230-GW-GJS
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                   1        Pending before this Court is a Joint Stipulation to Stay Case filed by
                   2 Defendants Live Nation Entertainment, Inc. (“Live Nation”) and Ticketmaster
                   3 L.L.C. (“Ticketmaster”) (together, “Defendants”) and Plaintiff Michelle Sterioff.
                   4 Upon consideration of the parties’ Joint Stipulation, and good cause appearing, IT
                   5 IS HEREBY ORDERED that the Joint Stipulation is GRANTED. The Court orders
                   6 as follows:
                   7               a.    All proceedings and deadlines, including discovery deadlines
                   8                     and status conferences, shall be stayed until one or more of the
                   9                     following conditions are met:
              10                               (1)    Either party provides notice to this Court that a
              11                                      mediation session has been completed and further
              12                                      settlement efforts will likely be futile;
              13                               (2)    The Ninth Circuit issues a final mandate in the
              14                                      Heckman appeal;
              15                               (3)    Any stay pending the Heckman appeal that is
              16                                      entered in Barfuss is lifted;
              17                               (4)    Barfuss is remanded to state court and the state court
              18                                      denies any motion by any party or stipulation by the
              19                                      parties to stay the case; or
              20                               (5)    Any action raising claims similar to those of
              21                                      Plaintiff is filed.
              22                   b.    Within fourteen days after any of the conditions in Paragraph (a)
              23                         are met, the parties shall submit a proposed scheduling order
              24                         governing further proceedings in this action.
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                                                                                          [PROPOSED] ORDER ON
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   1             JOINT STIPULATION TO STAY CASE
                                                                                   CASE NO. 2:22-cv-09230-GW-GJS
       Case 2:22-cv-09230-GW-GJS Document 62-2 Filed 08/25/23 Page 3 of 3 Page ID #:633



                   1 IT IS SO ORDERED.
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                   3   Dated:
                                                     Hon. George H. Wu
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                                                     United States District Judge
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                                                                            [PROPOSED] ORDER ON
ATTORNEYS AT LAW
 SAN FRANCISCO                                       2           JOINT STIPULATION TO STAY CASE
                                                                     CASE NO. 2:22-cv-09230-GW-GJS
